Case: 1:24-cv-03559 Document #: 1-1 Filed: 05/02/24 Page 1 of 10 PageID #:20




                     EXHIBIT 1
 Case: 1:24-cv-03559 Document #: 1-1 Filed: 05/02/24 Page 2 of 10 PageID #:21




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     ted                          States of mp,
                                            Gp                                                      r     ’



                        Cnited States Patent and Trademark Pffice
                        United                             Office                                       Ity




Reg. No. 4,787,519               THOSE CHARACTERS
                                 THOSE CHARACTERS FROMFROM CLEVELAND,
                                                           CLEVELAND, INC.
                                                                      INC. (OHIO
                                                                           (OHIO CORPORATION)
                                                                                 CORPORATION)
    )                            ONE AMERICAN
                                 ONE AMERICAN ROAD
                                               ROAD
Registered Aug. 4, 2015          CLEVELAND, OH
                                 CLEVELAND, OH 44144
                                                44144
Int. CL:
     Cl: 3                       FOR: ANTI-BACTERIAL
                                 FOR: ANTI-BACTERIAL SOAP;
                                                     SOAP, LIP
                                                           LIP BALM,
                                                               BALM, IN
                                                                     IN CLASS
                                                                        CLASS 33 (U.S.
                                                                                 (U.S. CLS.
                                                                                       CLS. 1,4,
                                                                                            1,4, 6,50,
                                                                                                 6, 50, 5151 AND
                                                                                                             AND 52).
                                                                                                                 52).
                                 FIRST USE
                                 FIRST USE 11-30-2014;
                                           11-30-2014; ININ COMMERCE
                                                            COMMERCE   11-30-2014.
                                                                       11-30-2014.
TRADEMARK
                                 OWNER OF
                                 OWNER OF U.S.
                                          U.S. REG.
                                               REG. NOS.
                                                    NOS. 1,270,509,
                                                         1,270,509, 3,767,824,
                                                                    3,767,824,
                                                                            AND OTHERS.
                                                                            AND OTHERS.
PRINCIPAL REGISTER
                                 NO CLAIM IS MADE TO THE EXCLUSIVE RIGHT TO USE "BEARS", APART FROM THE
                                 MARK AS SHOWN.

                                 THE MARK CONSISTS OF A DESIGN OF        A HEART BETWEEN THE WORDS CARE AND
                                 BEARS.

                                 SN 86-976,564, FILED 4-24-2014.

                                 LESLIE RICHARDS, EXAMINING ATTORNEY
                                                            ATTORNEY




Pi ctette Xo Zoo
 Director of the United States
 Patent and Trademark Office
                        Office
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               Amp,
             Case: 1:24-cv-03559 Document #: 1-1 Filed: 05/02/24 Page 3 of 10 PageID #:22

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                       Anited States Patent and Trademark Office
                       United                                                                                  Ity
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                               CARE BEARS
Reg. No. 5,874,943                 THOSE CHARACTERS
                                   THOSE   CHARACTERS FROM  FROM CLEVELAND,
                                                                 CLEVELAND, LLC
                                                                            LLC         (OHIO LIMITED
                                                                                        (OHIO LIMITED LIABILITY
                                                                                                      LIABILITY
                                   COMPANY)
                                   COMPANY)
Registered Oct.
Registered Oct. 01,
                01, 2019
                    2019           2860! Chagrin
                                   28601 Chagrin Blvd.,
                                                 Blvd, Ste.
                                                        Ste. 500
                                                             500
                        ’          Woodmere, OHIO
                                   Woodmere, OHIO 44122
                                                  44122
Int. CL: 5
Int. CL: 5                         CLASS 5: Gummy vitamins

Trademark                          FIRST USE
                                   FIRST USE 2-5-2019;
                                             2-5-2019; ININ COMMERCE
                                                            COMMERCE 2-5-2019
                                                                     2-5-2019
Principal Register                 THE MARK
                                   THE MARK CONSISTS
                                             CONSISTS OF
                                                      OF STANDARD
                                                         STANDARD CHARACTERS
                                                                    CHARACTERS                 WITHOUT
                                                                                               WITHOUT      CLAIM TO
                                                                                                            CLAIM TO ANY
                                                                                                                     ANY
                                   PARTICULAR FONT STYLE, SIZE OR COLOR

                                   No claim is made to the exclusive right to use the following apart from the mark as shown:
                                   "BEARS"

                                   SER. NO. 87-726,983, FILED 12-19-2017
                                                              12-19-2017




   Director of the United States
   Patent and Trademark Office
                          Office
Case: 1:24-cv-03559 Document #: 1-1 Filed: 05/02/24 Page 4 of 10 PageID #:23




 Int. C1: 9

 Prior U.S. Cls.: 21, 23, 26, 36, and 38                                   Reg. No. 3,336,078

 United       States      Patent        and    Trademar
                                               Trademarkk       Office       Registered Nov. 13, 2007

                                          TRADEMARK
                                       PRINCIPAL REGISTER




                                  CARE BEARS


 THOSE CHARACTERS FROM                CLEVELAND,          THE MARK CONSISTS OF STANDARD CHAR-
   INC. (OHIO CORPORATION)                              ACTERS WITHOUT CLAIM TO ANY PARTICULAR
 ONE AMERICAN ROAD                                      FONT, STYLE, SIZE, OR COLOR.
 CLEVELAND, OH 44144

   FOR: KARAOKE MACHINES, PRERECORDED
   FOR: KARAOKE MACHINES, PRERECORDED                   !             o.
 VIDEO CASSETTES AND DVDS FEATURING CAR- ~~ SN> 78-563,875,
 VIDEO CASSETTES AND DVDS FEATURING CAR-              0-96875, FILED
                                                               FILED 2-9-2005.
                                                                     2-9-2005.
 TOONS, IN CLASS 9 (USS. CLS. 21, 23, 26, 36 AND 38).
 TOONS, IN CLASS 9 (U.S. CLS. 21, 23, 26, 36 AND 38).

   FIRST USE 8-31-2002; IN COMMERCE 8-31-2002.           INGRID C. EULIN, EXAMINING ATTORNEY
                                                        INGRID                      ATTORNEY
 Case: 1:24-cv-03559 Document #: 1-1 Filed: 05/02/24 Page 5 of 10 PageID #:24




 ited States of Jp,
                               Cnited States Patent and Trademark Office                            iy




                       CARE BEARS
Reg. No. 4,602,800                      THOSE CHARACTERS FROM CLEVELAND, INC. (OHIO CORPORATION)
    .                                   ONE AMERICAN ROAD
Registered Sep. 9, 2014                 CLEVELAND, OH 44144
Int. CL: 9                              FOR: DVDS FEATURING ANIMATION, MUSIC AND ENTERTAINMENT FOR CHILDREN,
                                        IN CLASS 9 (U.S. CLS. 21, 23, 26, 36 AND 38).
TRADEMARK                               FIRST USE 12-31-2004; IN COMMERCE 12-31-2004.
PRINCIPAL REGISTER                      THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY PAR-
                                        TICULAR FONT, STYLE, SIZE, OR COLOR.

                                        OWNER OF U.S. REG. NOS. 1,270,509, 3,336,078, AND OTHERS.

                                        SN 85-982,324, FILED 12-4-2012.

                                        MARIA-VICTORIA SUAREZ, EXAMINING ATTORNEY




 Pl csett, Xo Zoo
 Deputy Director of the United States
    Patent and Trademark Office
Case: 1:24-cv-03559 Document #: 1-1 Filed: 05/02/24 Page 6 of 10 PageID #:25




Int. Cls.: 4, 16 and 21

 Prior U.S. Cis.: 2, 15, 30, 37 and 38
                                                                                   Reg. No. 1,270,509
 United States Patent and Trademark Office                                         .Registered
                                                                                     RegisteredMar.
                                                                                                Mar. 20,
                                                                                                     20, 1984
                                                                                                         1984


                                              TRADEMARK
                                              Principal Register


                                              CARE BEARS



 American Greetings Corporation (Ohio corporation)         For:    DECORATIVE        CERAMIC        PLATES,   in
 10500 American Rd.
 Cleveland, Ohio 44144                                   CLASS 21 (U.S. Cls. 2 and 30).
                                                           First use Nov. 5, 1982; in commerce Nov. 5, 1982.
   For: CANDLES,      in CLASS 4 (U.S. CL 15).
   First use Nov. 5, 1982; in commerce Nov. 5, 1982.       Owner of U.S. Reg. Nos. 1,191,263 and 1,238,416.
   For:    GREETING     CARDS, {WRITING        PAPER
  AND     ENVELOPES, PHOTOGRAPH             ALBUMS,        Ser. No. 411,237, filed Jan. 27, 1983.
. AND     GIFT WRAPPING PAPER))in           CLASS 16
 (U.S. Cls. 37 and 38).
     First use Nov. 5, 1982; in commerce Nov. 5, 1982.   SUSAN A. RICHARDS, Examining Attorney
Case: 1:24-cv-03559 Document #: 1-1 Filed: 05/02/24 Page 7 of 10 PageID #:26




  Int. Cls.: 16, 24, and 25

  Prior U.S. Cls.: 38, 39, and 42
                                                                       Reg. No. 1,773,296
  United States Patent and Trademark Office                              Registered May 25, 1993


                                     TRADEMARK
                                 PRINCIPAL REGISTER



                                     CARE BEARS



  THOSE CHARACTERS FROM         CLEVELAND,       FOR: SHIRTS, SOCKS AND UNDERWEAR,                 IN
    INC. (OHIO CORPORATION)                    CLASS 25 (U.S. CL. 39).
  10500 AMERICAN ROAD
  CLEVELAND, OH 44144                             FIRST     USE   2-20-1992;    IN
                                                                                IN      COMMER CE
                                                                                        COMMERCE
                                               2-20-1992,
     FOR: STORY BOOKS, IN CLASS 16 (U.S. CL.
  n).                                             OWNER      OF  US.  REG.           NOS.   1,270,509,
                                               1,294,343, AND OTHERS.
     FIRST   USE  S§-15-1992;
                  5-15-1992;  IN COMMERCE
  5-15-1992.
     FOR: TOWELS, IN CLASS 24 (US. CL. 42).      SN 74-062,845, FILED 5-25-1990.
     FIRST   USE 8-14-1992;   IN COMMERCE
  8-14-1992.                                   JILL C. ALT, EXAMINING          ATTORNEY
                                                                               ATTORNEY
   Case: 1:24-cv-03559 Document #: 1-1 Filed: 05/02/24 Page 8 of 10 PageID #:27




                  ited States of Amp;
                                          Gnited States Patent and Trademark Office                                  Ity



                                                           CARE BEARS
            Reg. No. 3,767,824 THOSE CHARACTERS FROM CLEVELAND, INC. (OHIO CORPORATION)
                Registered Mar. 30,2010 ONE AMERICAN ROAD
                                        CLEVELAND, OH 44144
                              Int. Cl.: 18 FOR: PURSES, SHOULDER BAGS, SCHOOL BAGS, BACKPACKS, TOTE BAGS, IN CLASS
                                           18 (U.S. CLS. 1,2, 3,22 AND 41).
                            TRADEMARK gRST USE 12-31-2008; IN COMMERCE 12-31-2008.
            PRINCIPAL REGISTER
                                                         THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY PAR-
                                                         TICULAR FONT, STYLE, SIZE, OR COLOR.
                                                         OWNER OF U.S. REG. NOS. 1,270,509, 1,780,477, AND OTHERS.
                                                         SN 77-045,766, FILED 11-16-2006.
                                                         JASON BLAIR, EXAMINING ATTORNEY




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     of the United States Putent and Uradeturck Office
Case: 1:24-cv-03559 Document #: 1-1 Filed: 05/02/24 Page 9 of 10 PageID #:28

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                       ;   3
                      cl.
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 Int. Cls.: 21, 24, 25 and 28
 Prior U.S. Cls.: 2, 22, 39 and 42
                                                                                     Reg. No. 1,294,343
 United States Patent and Trademark Office                                             Registered Sep. 11, 1984

                                             TRADEMARK
                                             Principal Register



                                             CARE        BEARS



 American Greetings Corporation (Ohio corporation)           First use Sep. 9, 1982; in commerce Sep. 9, 1982.
 10500 American Rd.
 Cleveland, Ohio 44144
                                                             Ownerof U.S. Reg. Nos. 1,191,263, 1,238,416 and
                                                          1,258,185.
    For: CANNISTERS, in CLASS2! (U.S. Cl. 2).
                                                             No claim is made to the exclusive right to use the
    ‘First use Sep. 9, 1982; in commerce Sep. 9, 1982.
    For: TOWELS, in CLASS 24 (U.S. Cl 42).                term “Bears”, apart from the mark as shown.
    First use Sep. 9, 1982; in commerce Sep. 9, 1982.
    For: T-SHIRTS, in CLASS 25 (U.S. Cl. 39).
    First use Sep. 9, 1982; in commerce Sep. 9, 1982.
                                                             Ser. No. 399,521, filed Oct. 1, 1982,
    For: STUFFED TOY FIGURES,in CLASS 28
 U.S. CL 22).                                             HENRY 8. ZAK, Examining Attorney
                                                                                  Attorney
 Case: 1:24-cv-03559 Document #: 1-1 Filed: 05/02/24 Page 10 of 10 PageID #:29




Int. CL: 30

Prior U.S. Cl.: 46
                                                                          Reg. No. 1,780,477
United States Patent and Trademark Office                                    Registered July 6, 1993


                                     TRADEMARK
                                  PRINCIPAL REGISTER


                                      CARE BEARS



THOSE CHARACTERS FROM           CLEVELAND,         NO CLAIM IS MADE TO THE EXCLUSIVE
  INC. (OHIO CORPORATION
             CORPORATION))                       RIGHT TO USE “BEARS” , APART FROM THE
10500 AMERICAN ROAD                              MARK AS SHOWN,
CLEVELAND, OH 44144

  FOR: CANDY, IN CLASS 30 (U.S. CL. 46).              SER. NO. 74-330,849, FILED 11-13-1992.
  FIRST   USE  12-0-1984; IN    COMMERCE
120-1984,
  OWNER OF U.S. REG. NOS. 1,270,509, 1,271,459   M.    L. HERSHKOWITZ,       EXAMINING         ATTOR-
AND OTHERS.                                           NEY
